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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :      Case Nos.       22-CR-385 (APM)
               v.                                    :                      22-CR-386 (APM)
                                                     :                      22-CR-387 (APM)
EMILY ARCHER PATERSON,                               :
NICOLE ELIZABETH ENFIELD,                            :
ROLANDE BAKER,                                       :
                                                     :
        Defendants.                                  :


       GOVERNMENT’S OMNIBUS MEMORANDUM IN AID OF SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully recommends that the Court sentence Defendants Emily

Archer Paterson ((22-CR-385 (APM)), Nicole Elizabeth Enfield ((22-CR-386) (APM)), and

Rolande Baker (22-CR-387 (APM)) each to twelve months of probation, to include a stay-away

order from the Supreme Court building and grounds. 1 In support of these sentences, the

government states the following:

                                   FACTUAL BACKGROUND

       On November 2, 2022, Emily Archer Patterson, Nicole Elizabeth Enfield, and Rolande

Baker were attending oral arguments at the Supreme Court of the United States, located at 1 First

Street N.E., Washington, D.C., as members of the public and were seated inside the courtroom.

Officers Colin Porter, Ronald Bolls, Tyler Sheehy and Jacob Habecker were assigned to the

Courtroom Detail inside the Supreme Court Courtroom that morning. At approximately 9:55 a.m.,

Officer Porter stated to the public seated in the courtroom, including Ms. Paterson, Ms. Baker, and



1
 The condition requiring the defendants to stay away from the U.S. Supreme Court building and
grounds does not include the perimeter sidewalks as discussed in U.S. v. Grace, 461 U.S. 171
(1983).
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Ms. Enfield, “Welcome to the Supreme Court of the United States. During today’s oral argument,

it is important that you remain seated and silent while Court is in session.”

       At approximately 10:00 a.m., the Marshal of the Supreme Court convened the argument

session by saying, “The Court is now in session.” Ms. Paterson was seated in the south side of the

courtroom, Ms. Baker was seated in the North side, and Ms. Enfield was seated at the center-rear

of the courtroom.

       At approximately 10:02 a.m., the court was in session, the oral argument had commenced,

and all nine Supreme Court Justices were seated on the bench. Officer Bolls noticed Ms. Enfield,

appear to be nervously looking to the left and right of her as if expecting something to occur.

Immediately afterwards, Ms. Paterson stood up from her seat and loudly stated: “Women rise and

denounce Dobbs! American women remember to vote!” Officer Sheehy immediately moved in

front of Ms. Paterson and escorted her out of the courtroom. At the time of Ms. Paterson’s

statement, an attorney in the case before the court had been invited to begin his argument and had

started speaking. The attorney paused until Ms. Paterson stopped speaking.

       Shortly thereafter, the attorney resumed his argument. Less than one minute into the

argument, Ms. Baker stood up from her seat, interrupted counsel, and loudly stated: “Women vote

for our right to choose!” The attorney again stopped speaking. Officer Bolls immediately moved

in front of Ms. Baker and helped Officer Habecker escort her out of the courtroom. After Ms.

Paterson was escorted out of the courtroom and after the attorney had resumed his argument, Ms.

Enfield stood up from her seat and loudly stated: “We will restore the right to choose! All women!”

The attorney again stopped speaking. Officer Bolls immediately responded to where Ms. Enfield

was standing and escorted her out of the courtroom. While Officer Bolls was about to escort Ms.




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Enfield out of the courtroom, Ms. Enfield stated in substance to Officer Bolls: “The Court was

wrong in that decision”

       Ms. Paterson, Ms. Baker, and Ms. Enfield’s statements could be heard throughout the

courtroom and were captured on the court’s audio recording. Each statement interrupted the

argument being conducted. 2

       After Ms. Enfield was placed under arrest, law enforcement recovered two small scraps of

notebook paper from her. One bore the message “We will restore our freedom to choose. Women

of America vote.” The other read: “We rise respectfully to denounce the repeal of Roe! Women of

America vote! Our right to choose will not be stripped away. Women of America vote!”

       No defendant has a criminal record and, because 40 U.S.C. § 6134 is a class B

misdemeanor, as defined by 18 U.S.C. § 3559(a)(7), the sentencing guidelines do not apply to their

sentencings. See United States Sentencing Commission, Guidelines Manual § 1B1.9

                          SENTENCING FACTORS UNDER 18 U.S.C. § 3553

       In sentencing the defendants, the Court must take into account the factors set forth in 18

U.S.C. § 3553(a), as follows:

       (1) the nature and circumstances of the offense and the history and characteristics of the

       defendant;

       (2) the need for the sentence imposed—

               (A) to reflect the seriousness of the offense, to promote respect for the law, and to

               provide just punishment for the offense;




2
 An audio recording of a portion of the November 2, 2022 oral argument, including the defendants’
interruptions, has been provided to the Court via USAfx as Government’s Exhibit A in aid of
sentencing. The defendants can be heard at 2 minutes and 30 seconds, 3 minutes and 19 seconds,
and 3 minutes and 43 seconds into the recording.
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               (B) to afford adequate deterrence to criminal conduct;

               (C) to protect the public from further crimes of the defendant; and

               (D) to provide the defendant with needed educational or vocational training,

               medical care, or other correctional treatment in the most effective manner;

       (3) the kinds of sentences available;

       (4) the kinds of sentence and the sentencing range established for—

               (A) the applicable category of offense committed by the applicable category of

               defendant as set forth in the guidelines—

                       (I) issued by the Sentencing Commission….; and

                       (II) that, . . . are in effect on the date the defendant is sentenced; …

       (5) any pertinent policy statement—

               (A) issued by the Sentencing Commission … and

               (B) that, . . . is in effect on the date the defendant is sentenced.

       (6) the need to avoid unwarranted sentence disparities among defendants with similar

       records who have been found guilty of similar conduct; and

       (7) the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

                                           ARGUMENT

       On November 2, 2022, the defendants engaged in a coordinated effort to interrupt oral

arguments in the U.S. Supreme Court building courtroom. The three women entered the courtroom

and took seats in different locations throughout the gallery. Each defendant interrupted arguments

– not via a single interruption, speaking together, but in three coordinated interruptions – each

taking her turn. Ms. Paterson began, stopping the advocate who had already begun his argument



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midstream. After Ms. Paterson was removed from the courtroom, the advocate resumed his

argument. Unfortunately, he was only able to speak for approximately a minute before he was

interrupted again, this time by Ms. Baker, with a similar message. After Ms. Baker was removed

from the courtroom, the advocate again resumed his argument, only to be interrupted by Ms.

Enfield shortly thereafter. The defendants’ actions severely undermined the respect and reverence

our highest court deserves. Were such conduct allowed to go unpunished, the court would quickly

cease to be a place where the most important legal disputes in our nation are adjudicated under

procedures enacted to ensure fairness and, instead, become a sort of “open mic night” for citizens

to voice their personal views.

       As this Court is well aware, the Supreme Court considers and adjudicates legal

controversies that have great significance to the litigants that argue them on behalf of the American

public. The court’s ultimate decision on a case has a significant and often permanent impact on

the individual or entity it affects, as well as others similarly situated nationwide. The cases before

the court involve weighty and complicated legal issues and require countless hours of preparation

prior to oral argument. In preparing for their presentation to and appearance before the court, these

litigants and the parties they represent expect and are entitled to access to a courtroom that is free

from outbursts and disruptive conduct. See Illinois v. Allen, 397 U.S. 337, 343 (1970) (“It is

essential to the proper administration of criminal justice that dignity, order and decorum be the

hallmarks of all court proceedings in our country.”) The Justices, too, must be able to focus on and

carefully consider the arguments of the litigants without being interrupted by individuals

expressing political or personal opinions. It is essential to our system of democracy that the

judiciary be able to carry out its functions as prescribed.




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         The sentence requested by the Government is necessary to “reflect the seriousness of the

offense, to promote respect for the law,” and “to afford adequate deterrence to criminal conduct.”

18 U.S.C. § 3553(a)(2). The defendants’ conduct demonstrates a serious lack of respect for our

systems and our laws. Each year, thousands of people lawfully protest outside of the Supreme

Court and throughout our city. The defendants’ actions suggest that they do not believe they should

be subject to the same rules and restrictions that others – who also speak out for significant causes

– are.

         The three defendants have no prior criminal contacts. Moreover, they have never engaged

in disruptive activity in Washington, D.C. prior to the events that bring them before this Court.

Their conduct was also nonviolent. Further, immediately after the arrests in this case, the three

defendants expressed their desire to promptly accept responsibility for their conduct by pleading

guilty to the charged conduct at the earliest possible juncture, indicating their recognition that their

conduct was wrong.

         In consideration of these factors, this Court should sentence each defendant to a one-year

term of probation with a stay-away order from the Supreme Court. This will ensure that the

defendants do not return and engage in disruptive conduct – and will serve as a deterrence to others

who may consider attempting to interrupt Supreme Court proceedings.




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                                  Respectfully submitted,

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                                  DC Bar No. 481052


                           By:    /s/ Meredith E. Mayer-Dempsey
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